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    DISTRICT COURT, PARK COUNTY, COLORADO                                       DATE FILED: July 26, 2013 6:01 PM
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    Court Address: 300 4th St., P.O. Box 190
                                                                                CASE NUMBER: 2013CV30104
                   Fairplay, CO 80440

    IN THE MATTER OF THE MOTION OF NATIONSTAR
    MORTGAGE LLC FOR AN ORDER AUTHORIZING                           ▲COURT USE ONLY▲
    THE PUBLIC TRUSTEE TO SELL CERTAIN REAL
    ESTATE UNDER A POWER OF SALE CONTAINED                          Case Number:
    WITHIN A DEED OF TRUST



                                                                    Division:

                                     ORDER AUTHORIZING SALE


          THE REVIEW AND HEARING IN THIS MATTER having been completed by the
   Court on August 19, 2013:

           WHEREAS, Martin T. Wirth, Grantor(s) by Deed of Trust dated January 18, 2002,
   recorded January 29, 2002 at Reception No. 560414 in the records of the County of Park,
   Colorado, to secure to Mortgage Electronic Registration Systems, Inc., as nominee for
   Countrywide Home Loans, Inc. the payment of a Promissory Note of even date therewith for the
   principal sum of $138,000.00 as provided in said Deed of Trust, conveyed to the Park County
   Public Trustee, on the terms set forth in said Note and Deed of Trust, the following described
   real property (“Property”) situate in said County to-wit:

   SEE EXHIBIT A ATTACHED HERETO AND INCORPORATED HEREIN BY
   REFERENCE

   WHICH HAS THE ADDRESS OF 36 Iris Drive Bailey, CO 80421-2316

           THE COURT FINDS that there is reasonable probability that: a default exists as alleged
   in the Motion in order to invoke the power of sale in said Deed of Trust; that the provisions of
   C.R.C.P. Rule 120 and the Servicemembers Civil Relief Act, as amended, have been complied
   with; that the venue in this action is proper; and that the order authorizing sale should be granted.

           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that a sale of the
   Property by the Public Trustee in the above said County in the State of Colorado, under a power
   of sale, pursuant to statute and the provisions of that certain Deed of Trust described above, be
   and the same hereby is authorized by this Court.
           It is further ordered that a return of such sale shall be made to this Court for its approval.
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         DONE this Nineteenth day of August, 2013


                                           BY THE COURT:



                                           Judge/Magistrate

   Wirth / 13-03477
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